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Erik LeRoy, P.C.
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Counsel for Development Services Group, Inc.

                    IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF ALASKA

In re:                                           :
                                                 :
WILLIAM CLAUDE AMBERCROMBIE                      :     Case No. A18-00135
                                                 :     Chapter 7
                      Debtor                     :
                                                 :

                            Errata to Objection to Exemption

         Erik LeRoy, P.C. on behalf of Development Services Group, Inc. objected to the

exemption Debtor claims in the Georgia property. (DE 18) That objection contained a

typographical error when it stated that, “Debtor scheduled Creditor as its largest

creditor but did include an address for Creditor and consequently, Creditor did not

receive notice of the bankruptcy or the creditor’s meeting.” The Debtor did not include

an address for creditor in its schedules or matrix.



August 31, 2018               Erik LeRoy, P.C.
                              Counsel for Development Services Group, Inc.
                              Alaska Bar Number 8310130

                              /s/ Erik LeRoy
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                                          Certificate of Service

I certify that August 31, 2018, a copy of this pleading was served by electronic means through the ECF
system as indicated on the Notice of Electronic Filing.

Erik LeRoy

/s/ Erik LeRoy
